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                        IN THE TINTTED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION                                       FiLED
GEORGE MOORE
                                                       :

        Plaintiff,                                     :   Case No.
                                                                                     ",#ffiffirf,,H88*
                                                       :

V.


DIAL4MD, INC,                                          .
                                                       :
                                                           19CV2162
EMMANUEL SILVA                                         :   JUDGE KENDALL
FRANCTSCO OCASTO J&                                    ;   MAG. JUDGE ROWLAND
andDOESl-10,                                           :

                                                       :

       Defendants.



                                                 COMPLAINT

Plaintiff George Moore states      as   follows for his complaint against Dial4MD, Inc, Emmanuel

Silva, Francisco Ocasio Jr, and Does I       -   10:


                                           Preliminary Statement

        1.      This action arises out of the Defendants' repeated violations of the Telephone

ConsumerProtection Act,47 U.S.C. 5227, et seq. (*TCPA").

       2.       Does   1   through 10 initiated telemarketing calls to the residential telephone

number of Plaintiffdespite it being registered on the National Do Not Call Registry, to promote

Dial4MD, Inc ("Dial4MD") in violation of the TCPA. Dial4MD hired Does I through l0 to

advertise its goods and services and is vicariously liable for their illegal telemarketing conduct.

       3.       Mr. Moore never consented to receive these calls,      and they were placed to him   for

telemarketing purposes.

                                                   PARTIES

       4.       PlaintiffGeorge Moore is a natural person and resident of Illinois in this District.
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           5.     Defendant Dial4MD, Inc is a Florida Corporation that has its principal offrce in

Margate, Florida and aregistered agent of Emmanuel Silva, 10880 Paper Bark Pl, Boynton

Beach, FL33437.

           6.     Defendant Emmanuel Silva is a natural person and resident of the State of Florida.

           7.     He is Dial4MD's president.

           8.     He is also the owner of a certain other Florida company Sunshine Bracing

Solutions, Inc.

           9.     Defendant Francisco Ocasio Jr is a natural person and resident of the State     of

Florida.

           10.    He is Dial4MD's vice president.

           11.    He is also a manager of a certain other Florida company Superior Health Supplies

LLC and is a director of Sunshine Bracing Solutions, Inc.

           12.    Mr. Silva   and   Mr. Ocasio are each also a manager of   a certain other Florida

company Durable Medical Products, LLC.

           13.    The true names and capacities of the defendants sued herein as Does 1 through        l0

are currently unknown to      Plaintifl who therefore   sues these defendants by such   fictitious names.

Plaintiffwill    seek leave of court to amend this Complaint to reflect the true names and capacities

of the defendants designated hereinafter as Does when such identities become known.

           14.    The Defendants themselves, and through third parties, place telemarketing calls

into this District, or authorized the same, as they did with the Plaintiff.

                                        JT]RISDICTION & VENUE

           15.    The Court has federal question subject matter jurisdiction over these TCPA

claims.
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        16.     Venue is proper pursuant to 28 U.S.C. $ l39l(b)( 2) because PlaintiffMoore is a

resident ofthis district, which is where he received the illegal telemarketing calls that are the

subject of this lawsuit.

                                         TCPA BACKGROUND

        17.     In   1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that "[u]nrestricted telemarketing . .      .




can be an intrusive invasion of privacy     [.]" Telephone Consumer Protection   Act of 1991, Pub. L.

No. 102-243,   $   2(s) (1991) (codified at 47 U.S.C. g 227).

The National Do Not Call Registry

        18.     The National Do Not CaIl Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. $ 64.1200(c)(2).     A listing on the Registry "must be honored indefinitely, or until

the registration is cancelled by the consumer or the telephone number is removed by the database

administrator." Id.

        19.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry. 47 U.S.C. $ 227(c);47 C.F.R.

$ 6a.1200(c)(2).

        20.     A person whose number is on the Registry, and who has received more than one

telephone call within any twelve-month period by or on behalf of the same entity in violation       of

the TCPd can sue the violator and seek statutory damages. 47 U.S.C. $ 227(c)(5).

                                    FACTUAL ALLEGATIONS

       21.     Dial4MD operates      a   telemedicine physician network called the "Doctor

Network".
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        22.     Doctor Network physicians provide, inter alia, consultations and prescriptions for

orthotic braces.

        23.     Sunshine Bracing Solutions, Inc, Superior Health Supplies   LLC and Durable

Medical Products, LLC are suppliers of durable medical equipment and medical supplies.

        24.     Dial4MD uses telemarketing to advertise its goods and services.

        25.     In fact, Dial4MD has advertised the position of "Telesales". See hups://www.

ziprecruiter.com/jobs/dial4md-fc9ebblc/telesales-6e7a3003 (Last visited February 10, 2019)

        26.     The job description states, inter alia: "Have you ever seen the movie   Boiler

Room? Well that is what we are looking for! . . . This agent will focus on reaching out to

Medicare patients and collecting PHI. . .   ." Id

        27.     Upon information and belief, Dial4MD's purpose is to generate sales of orthotic

braces and other medical supplies for its affiliated companies named above, resulting in profits

for defendants Mr. Silva and Mr. Ocasio.

        28.     Upon information and belie{, the Defendants target customers enrolled in certain

private or government sponsored health insurance plans such as Medicare, in order to seek

reimbursement from the sponsor for the services rendered by Dial4MD's physicians and the

goods dispensed by its affrliated companies.

Calls to Mr. Moore

        29.     Beginning in April2018, PlaintiffMr. Moore started receiving repeated

telemarketing calls on his residential telephone number (630) 51O-)OOOq regarding the

availability of orthotic braces.

        30.     This number has been continuously registered on the National Do Not Call

Registry for more than ten years prior to receipt of the calls.
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         31.     When Plaintiffanswered the calls, he became connected with representatives who

identified their company as'?ain Management Centef', "Pain Relief Center" and other similar

generic names.

         32.     The purpose of these calls was to promote Dial4MD's goods and services.

The January 8. 2019 Call

         33.     On January 8,2019, the Plaintiffreceived a telemarketing call on his residential

line.

         34.     When Plaintiffanswered, he was informed by the representative that the reason

for the call was to check his eligibility to receive new braces for pain he might be experiencing in

his bach shoulder or knee.

         35.     The representative identified his company as "Pain Management Centef'.

         36.     The   Plaintiffwas further informed by the representative that the brace would   be

paid in full by his insurance with no out-of-pocket cost to him.

         37.     In order to discover the company's identity, the Plaintifffeigned interest in

receiving a back brace and answered the representative's questions.

         38.     The   Plaintiffwas asked by the representative for his Medicare member ID.

         39.     The   Plaintiffwas next informed by the representative that   he would be getting

contacted in the following days to finalize the brace order.

The January 15. 2019 Call

         40.     On January 15,2019, the Plaintiffreceived a telemarketing call on his residential

line.

         41.     When Plaintiff answered, he was informed by the representative that the reason

for the call was to complete the process of shipping braces to him.
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        42.     In order to further investigate, the Plaintiff continued feigning interest and

answered the representative' s questions.

        43.     The   Plaintiffwas asked by the representative for his Medicare number on his

"red, white and blue card".

        44.     Subsequently the Plaintiffbecame transferred to another representative who

identified himself as a verifier from the Doctor Network.

        45.     The Plaintiffwas asked questions by the representative regarding his Medicare

insurance coverage.

        46.     The Plaintiffwas next informed by the representative that the final step was for a

doctor to call him.

        47.     The representative proceeded to solicit the Plaintiffto enroll into the Doctor

Networlg and identified Dial4MD as the company that will provide the services.

        48.     Plaintiffhas been injured by the acts of the Defendants because his privacy has

been violated and he was subjected to annoying and harassing calls that constitute a nuisance.

Plaintiffwas also temporarily deprived of legitimate use of his phone because the phone line was

tied up by the illegal calls.

        49.     Plaintiffdid not provide his prior express invitation or permission for the

Defendants to place telemarketing calls to him.

            DEFENDAI\ITS' LIABILITY FOR THE TELEMARKETING CALLS

        50.     Dial4MD is, and at all times mentioned herein was,     a   "person", as defined by 47

u.s.c. $ 153(3e).

        51.     The Federal Communication Commission has instructed that sellers such as

Dial4MD may not avoid liability by outsourcing telemarketing:
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        [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
        ifilvlues to unsuperviseo tnirci parties wouici ieave consumers in many         cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proo{ unidentifiable, or located outside
       the United States, as is often the case. Even where thirci-parry teiemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the
       telemarketer that physically places the call would make enforcement in many
       cases substantially more expensive and less effrcient, since consumers (or law
       enforcement agencies) would be required to sue each marketer separately in order
       to obtain effective relief As the FTC noted because "[s]ellers may have
       thousands of independent' marketers, suing one or a few of them is unlikely to
       make a substantive difference for consumer privacy.

May 2013 FCC Ruling,28 FCC Rcd at 6588 (fl 37) (internal citations omitted).

        52.      In its January 4,z}O}ruling, the FCC reiterated that     a company on whose   behalf

a telephone   call is made bears the responsibility for any violations.

        53.      The FCC has explained that its "rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations." See In re Rules &

Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

l0 FCC Rcd 123e1, r23e7 (tl l3) (legs).

        54.      The parties that made the calls described herein did so "on behalf   of'Dial4MD

within the meaning of the FCC's Declaratory Rulings and 47 U.S.C. $ 227(cX5).

        55.      On May 9,2013, the FCC released a Declaratory Ruling holding that a

corporation or other entity that contracts out its telephone marketing "may be held vicariously

liable under federal coflrmon law principles of agency for violations...that are committed by
                              I
third-party telemarketers."

       56.      More specifically, the May 2013 FCC Ruling held that, even in the absence of

evidence of a formal contractual relationship between the seller and the telemarketer, a seller is


' In re Joint Petition Filedby DISH Network, LLC et al.for Declaratory Ruling Concerning the
TCPA Rules, CG Docket No. I l-50, Declaratory Ruling, 28FCC Rcd 6574, 6574 (n l) (May 9,
2013) ('May 2013 FCC Ruling").
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liable for telemarketing calls if the telemarketer "has apparent (if not actual) authority'' to make

the calls. 28 FCC Rcd at 6586 (fl 34).

        57.       The May 2013 FCC Ruling rejected a narrow view of TCPA liability, including

the assertion that a seller's liability requires a finding of formal agency and immediate direction

and control over the third-party who placed the telemarketing       call.   Id   at 6587 n. 107.

       58.        Dial4MD is legally responsible for ensuring that the parties that made the calls

complied with the TCPAs even ifDial4MD did not itself make the calls.

        59.       Dial4MD knowingly and actively accepted business that originated through the

illegat telemarketing calls from the parties that made the calls.

        60.       Moreover, Dial4MD maintained interim control over the actions of the parties that

made the calls.

        61.       For example, Dial4MD had absolute control over whether, and under what

circumstances, il would accept a customer.

        62.       Furthermore, Dial4MD had day-to-day control over the actions of the parties that

made the calls, including the ability to prohibit them from calling phone numbers registered on

the National Do Not Call Registry to contact potential customers of Dial4MD.

        63.       Moreover, Dial4MD instructed the parties that made the calls to transfer the

called parties to a third-party verification company Dial4MD had hired to complete the process

of enrolling a customer into the Doctor Network.

        64.       In fact, Dial4MD allowed their vendors to bind them in contract following an

illegal telemarketing call, as they did with the Plaintiff.

        65.       Finally, the May 2013 FCC Ruling states that called parties may obtain "evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such
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information."   Id    at 6592-593 (fl 46). Moreover, evidence of circumstances pointing to apparent

authority on behalf of the telemarketer "should be sufficient to place upon the seller the burden

of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller's authorized agent."   Id   at6593 (.!146).

Mr. Silva's   and   Mr. Ocasio's Liability for the Telemarketing Calls

        66.     At all relevant times, Defendants Mr. Silva       and   Mr. Ocasio directed the day-to-

day activities of Dial4MD as the company's president and vice president, respectively.

        67.     When considering individual officer liability, other Courts have agreed that a

corporate officer involved in the telemarketing at issue may be personally liable under the

TCPA. See, e.g., Jackson Five Snr Catering, Inc. v. Beason,2013 U.S. Dist. LEXS 159985,

*10 (8.D. Mich. Nov. 8, 2013) ("[M]any courts have held that corporate actors can be

individually liable for violating the TCPA "where they 'had direct, personal participation in or

personally authorized the conduct found to have violated the statute."'); Maryland v. Universal

Elections,787 F. Supp. 2d 408, 415-16 (D. Md.        20ll) ('If   an individual acting on behalf of a

corporation could avoid individual liability, the TCPA would lose much of its force.").

        68.     Mr. Silva and Mr. Ocasio are each personally liable under the "participation

theory" of liability because each of them was a controlling offrcer of Dial4MD and knew of and

authorized the telemarketing conduct that is the subject of this Complaint.

                                   COUNT I
                YIOLATION OF THE TCPA'S DO NOT CALL PROVISIONS

        69.     Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

        70.     The Defendants violated the TCPA by (a) initiating telephone solicitations to the

Plaintiff s telephone number that is listed on the Do Not Call Registry, ot (b)       bV the fact that



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others made those calls on their behalf. See 47 U.S.C. $ 227(c);47 C.F.R. $ 6a.1200(c)(2).

        71.    The Defendants'violations were            willful atdlor knowing.

                                       PRAYERFOR RELIEF

       WHEREFORE, the Plaintiffrespectfully prays that judgment be awarded in Plaintiffs

favor and against the Defendants, jointly and severally, as follows:

       A.      Because of Defendants'        willful   and/or knowing violations of 47 U.S.C. $227(c),

treble damages, as provided by statute, ofup to $1,500 for every call that violated the TCPA;

       B.      Because of Defendants' statutory violations of 47 U.S.C . $ 227(c), $500 in

statutory damages for every call that violated the TCPA;

       C.      Costs of suit;

       D.      Leave to amend this Complaint to name Does as they are identified and to

conform to the evidence presented at trial;

       E.      Such other relief as the Court deems just and proper.

       Plaintiff requests   a   jury trial   as   to all claims of the complaint so triable.


       RE SPECTFULLY        SI]BMITTED,

                                                     GEORGE MOORE,
                                                     Pro Se


       DATED: March         27,2ots ,r' Co*-e.- t*--.^<-
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